                  Case 18-12012-LSS             Doc 221        Filed 10/23/18        Page 1 of 2



                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


In re                                                    Chapter 11

OPEN ROAD FILMS, LLC, a Delaware                         Case No.: 18-12012 (LSS)
limited liability company, et al.,1
                                                         (Jointly Administered)
                           Debtors.
                                                         Hearing Date: October 26, 2018 at 2:00 p.m. (ET)
                                                         Objection Deadline: Commencement of the hearing

                                                         Ref. Docket Nos. 217 and 220


                   NOTICE OF HEARING REGARDING DEBTORS’ MOTION
                 FOR ENTRY OF AN ORDER AUTHORIZING AND APPROVING
                CERTAIN BIDDING PROTECTIONS AND AMENDMENTS TO BID
                  PROCEDURES ORDER, AND GRANTING RELATED RELIEF

TO:      (I) THE U.S. TRUSTEE; (II) PROPOSED COUNSEL TO THE COMMITTEE;
         (III) THE AGENT; (IV) ALL OTHER PARTIES WHO WERE SERVED WITH THE
         BID PROCEDURES MOTION; AND (V) ALL PARTIES WHO, AS OF THE FILING
         OF THE MOTION, HAVE FILED A NOTICE OF APPEARANCE AND REQUEST
         FOR SERVICE OF PAPERS IN THESE CASES PURSUANT TO BANKRUPTCY
         RULE 2002

              PLEASE TAKE NOTICE that, on October 23, 2018, the above-captioned
debtors and debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion for
Entry of an Order Authorizing and Approving Certain Bidding Protections and Amendments
to Bid Procedures Order, and Granting Related Relief [Docket No. 217] (the “Motion”). A
copy of the Motion is being served contemporaneously herewith.

               PLEASE TAKE FURTHER NOTICE that pursuant to the Order Shortening
the Time for Notice of Debtors’ Motion for Entry of an Order Authorizing and Approving
Certain Bidding Protections and Amendments to Bid Procedures Order, and Granting Related
Relief [Docket No. 220] a hearing to consider the motion has been scheduled for October 26,
2018 at 2:00 P.M. (ET) before the Honorable Laurie Selber Silverstein, in the United States
Bankruptcy Court for the District of Delaware, 824 N. Market Street, 6th Floor, Courtroom No. 2,
Wilmington, Delaware 19801.

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    The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
    Open Road Films, LLC (4435-Del.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC
    (5873-Del.); Briarcliff LLC (7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions
    LLC (9375-Del.). The Debtors’ address is 2049 Century Park East, 4th Floor, Los Angeles, CA 90067.




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                Case 18-12012-LSS   Doc 221   Filed 10/23/18   Page 2 of 2



              PLEASE TAKE FURTHER NOTICE that objections and responses, if any,
to the Motion are due at the commencement of the Hearing.

Dated: October 23, 2018                           /s/ Ian J. Bambrick
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